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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
          Plaintiff,                          )
                                              )
v.                                            )      NO. 4:20CR00327 JAR
                                              )
                                              )
LATASHA FRAZIER,                              )
                                              )
           Defendant.                         )


                                 GUILTY PLEA AGREEMENT

         Come now the parties and hereby agree, as follows:

1.    PARTIES:

         The parties are the defendant, LATASHA FRAZIER, represented by defense counsel, Kayla

L. Williams, Esq., and the United States of America (hereinafter "United States" or "Government"),

represented by the Office of the United States Attorney for the Eastern District of Missouri.     This

agreement does not, and is not intended to, bind any governmental office or agency other than the

United States Attorney for the Eastern District of Missouri.      The Court is neither a party to nor

bound by this agreement.

2.    GUILTY PLEA:

         Pursuant to Rule 11(c)(1)(A), Federal Rules of Criminal Procedure, in exchange for the

defendant's voluntary plea of guilty to Counts 1, 3, and 4, the United States agrees that it will move

for the dismissal of Count 2, 5, 6, and 7 as to the defendant at the time of sentencing.          The

government further agrees that no further federal prosecution will be brought in this District relative

to the defendant's participation in a scheme to fraudulently use stolen identifying information to
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obtain and use credit accounts and to obtain motor vehicles between July 1, 2019 and December

31, 2019, of which the Government is aware at this time. In addition, the parties agree that the U.S.

Sentencing Guidelines Total Offense Level analysis agreed to by the parties is the result of

negotiation and led, in part, to the guilty plea. The parties further agree that either party may request

a sentence above or below the U.S. Sentencing Guidelines range (combination of Total Offense

Level and Criminal History Category) ultimately determined by the Court pursuant to any chapter

of the Guidelines and Title 18, United States Code, Section 3553(a) as long as notice of any such

request be given no later than ten days prior to sentencing and that said notice shall specify the legal

and factual bases for the request.

3.    ELEMENTS:

         As to Count 1, the defendant admits to knowingly violating Title 18, United States Code,

Section 2312, and admits there is a factual basis for the plea and further fully understands that the

elements of the crime are:

         (1)    that the U-Haul Truck was stolen;

         (2)    that after the vehicle was stolen, the defendant moved the vehicle, and, caused the

                vehicle to be moved, across a state line;

         (3)    that, at the time she moved the vehicle, and caused the vehicle to be moved, across

                a state line, the defendant knew it was stolen.




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       As to Count 3, the defendant admits to knowingly violating Title 18, United States Code,

Section 1029(a)(2), and admits there is a factual basis for the plea and further fully understands that

the elements of the crime are:

       (1)     that the defendant knowingly used, and attempted to use, one or more

               unauthorized access devices;

       (2)     that by one or more such uses during the one-year period, the defendant

               obtained a thing or things, having an aggregate value of $1,000.00 or more;

       (3)     that the defendant acted with intent to defraud; and

       (4)     that the defendant=s conduct affected interstate commerce.

       As to Count 4, the defendant admits to knowingly violating Title 18, United States Code,

Section 1028A, and admits there is a factual basis for the plea and further fully understands that the

elements of the crime are:

       (1)     that the defendant knowingly transferred, possessed, or used, without lawful

               authority, a means of identification of another person;

       (2)     that the defendant knew that the means of identification the defendant

               transferred, possessed, or used belonged to another person;

       (3)     that the defendant transferred, possessed, or used the means of identification

               without lawful authority;

       (4)     that the defendant knew that she transferred, possessed, or used the means of

               identification without lawful authority; and

       (5)     that the defendant transferred, possessed, or used the means of identification

               during and in relation to the crimes of access device fraud and bank fraud.


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4.   FACTS:

       The parties agree that the facts in this case are as follows and that the government would

prove these facts beyond a reasonable doubt if the case were to go to trial.   These facts may be

considered as relevant conduct pursuant to Section 1B1.3:

       Defendant admits that she has been involved in a fraudulent scheme wherein she obtained

the personal identifying information and counterfeit state identification documents in the names of

identity theft victims from a third party. After receiving the information and documents, Defendant

posed as the fraud victims as she opened and used credit accounts at various merchants within the

Eastern District of Missouri and elsewhere. The third party also instructed Defendant what to buy.

Defendant admits that she received payment when she completed the transactions successfully.

       Specifically, Defendant admits that, in July 2019, the third party gave her a counterfeit State

of Illinois driver’s license in the identity of C.G. but bearing her photograph. She used it on July

18, 2019 to rent a U-haul truck in St. Louis County and to obtain access to the Lowe’s credit account

of C.G. The fraudulent C.G. credit card transactions included a purchase by Defendant on July 20,

2019 at a Lowe’s Store in Ballwin, Missouri in the amount of $3,482.43.

       Defendant also admits that she used the name, date of birth, and social security number of

A.G. in the St. Louis area to open a Menard’s account on October 17, 2019. She used the

fraudulently opened account to purchase merchandise from the retailer between October 17th and

October 20th in the aggregate amount of $5,293.47.

       In addition to the fraudulent rental of a U-haul in July 2019, Defendant admits that she used

a counterfeit driver’s license in the name of D.T. to rent another truck on December 2, 2019 from

a U-Haul facility in St. Louis County. However, on December 10, 2019, law enforcement officials


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observed Defendant drive the fraudulently acquired truck from the State of Illinois to a Menards

Store in St. Peters, Missouri. While at the store, Defendant admits that she used a credit account

that was fraudulently opened in the name of J.M., another identity theft victim, to purchase

merchandise in the amount of $506.98. Because the fraudulently rented truck was involved in an

automobile accident, the accident victim suffered an actual loss and were reimbursed by RepWest

Insurance Company.

       Defendant agrees and admits that as a result of her activities, between July 1, 2019 and

December 31, 2019, she used, and attempted to use, the stolen identities of C.G., A.G., J.M., M.R.,

D.T., S.C., M.R., J.K., and J.T. in fraudulently obtaining merchandise and services from Lowe’s,

Menard’s, Floor & Décor, U-Haul, Pier 1, Buckle, RepWest Insurance, and other merchants. At the

time of her use of these individuals’ identities, the defendant knew and understood that they were

the identities of genuine people who had not authorized the use. Because the rental trucks were

recovered, and the rental company failed to provide information about their losses, the intended

losses are approximately $33,000.

5. STATUTORY PENALTIES:

       The defendant fully understands that the maximum possible penalty provided by law for the

crime of interstate transportation of a stolen vehicle to which the defendant is pleading guilty in

Count 1 is imprisonment of not more than 10 years, a fine of not more than $250,000.00, or both.

The Court may also impose a period of supervised release of not more than 3 years.

       In addition, the defendant fully understands that the maximum possible penalty provided by

law for the crime of access device fraud to which the defendant is pleading guilty in Count 3 is




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imprisonment of not more than 10 years, a fine of not more than $250,000.00, or both. The Court

may also impose a 3-year period of supervised release.

       The defendant fully understands that the maximum possible penalty provided by law for the

crime of aggravated identity theft to which the defendant is pleading guilty in Count 4 is a

mandatory term of imprisonment of 2 years which must be served consecutively with any other

term of incarceration imposed for the conviction of access device fraud, a fine of not more than

$250,000.00, or both. The Court may also impose no more than a 1-year period of supervised

release.

6. U.S. SENTENCING GUIDELINES 2018 MANUAL:

       The defendant understands that Count 1 and 3 are affected by the U.S. Sentencing

Guidelines and the actual sentencing range is determined by both the Total Offense. However,

pursuant to § 2B1.6 Application Note 1(a), the offense of aggravated identity theft charged in

Count 4 bears a mandatory term of imprisonment of 2 years that must be run consecutively to

any sentence imposed for Counts 1 and 3. The parties agree that the following are the applicable

U.S. Sentencing Guidelines Total Offense Level provisions.

       a. Chapter 2 Offense Conduct:

              (1) Base Offense Level: The parties agree that the base offense level is 6 as found

in Section 2B1.1(a)(1).

              (2) Chapter 2 Specific Offense Characteristics: The parties submit that the

following specific offense characteristics apply: 4 levels should be added pursuant to Section

2B1.1(b)(1)(D) because the loss resulting from the offense was more than $15,000.00 but less than

$40,000; 2 levels should be added pursuant to Section 2B1.1(b)(2)(A)(i) because the offense


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involved 10 or more victims; and, 2 levels should be added pursuant to Section 2B1.1(b)(11)(B)(i)

because the offense involved the production of an unauthorized or counterfeit access device.

      b.    Chapter 3 Adjustments:

            Acceptance of Responsibility:         The parties recommend that 2 levels should be

deducted pursuant to Section 3E1.1(a) because the defendant has clearly demonstrated acceptance

of responsibility. The parties agree that the defendant's eligibility for this deduction is based upon

information presently known. If subsequent to the taking of the guilty plea the government

receives new evidence of statements or conduct by the defendant which it believes are inconsistent

with defendant's eligibility for this deduction, the government may present said evidence to the

court, and argue that the defendant should not receive all or part of the deduction pursuant to Section

3E1.1, without violating the plea agreement.

       c. Estimated Total Offense Level: The parties estimate that the Total Offense Level is

12.

            d.   Criminal History:       The determination of the defendant's Criminal History

Category shall be left to the Court.    Either party may challenge, before and at sentencing, the

finding of the Presentence Report as to the defendant's criminal history and the applicable category.

The defendant's criminal history is known to the defendant and is substantially available in the

Pretrial Services Report.

       e.   Effect of Parties' U.S. Sentencing Guidelines Analysis: The parties agree that the

Court is not bound by the Guidelines analysis agreed to herein.    The parties may not have foreseen

all applicable Guidelines.    The Court may, in its discretion, apply or not apply any Guideline




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despite the agreement herein and the parties shall not be permitted to withdraw from the plea

agreement.

7.   WAIVER OF APPEAL AND POST-CONVICTION RIGHTS:

       a.    Appeal: The defendant has been fully apprised by defense counsel of the defendant's

rights concerning appeal and fully understands the right to appeal the sentence under

Title 18, United States Code, Section 3742.

               (1)   Non-Sentencing Issues:        The parties waive all rights to appeal all non-

jurisdictional, non-sentencing issues, including, but not limited to, any issues relating to

motions, discovery, and the guilty plea.

               (2)    Sentencing Issues:      In the event the Court accepts the plea, and after

determining the appropriate Total Offense Level, sentences the defendant within or below the

corresponding range, then, as a part of this agreement, the defendant hereby waives all rights to

appeal all sentencing issues other than Criminal History. Similarly, the Government hereby waives

all rights to appeal all sentencing issues other than Criminal History, provided the Court accepts the

plea, and after determining the appropriate Total Offense Level, sentences the defendant within or

above the corresponding range.

       b.    Habeas Corpus: The defendant agrees to waive all rights to contest the conviction

or sentence in any post-conviction proceeding, including one pursuant to Title 28, United States

Code, Section 2255, except for claims of prosecutorial misconduct or ineffective assistance of

counsel.

       c.    Right to Records:    The defendant waives all rights, whether asserted directly or by a

representative, to request from any department or agency of the United States any records pertaining


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to the investigation or prosecution of this case, including any records that may be sought under the

Freedom of Information Act, Title 5, United States Code, Section 522, or the Privacy Act, Title 5,

United States Code, Section 552(a).

8.   OTHER:

          a.     Disclosures Required by the United States Probation Office: The defendant agrees

to truthfully complete and sign forms as required by the United States Probation Office

prior to sentencing and consents to the release of these forms and any supporting documentation

by the United States Probation Office to the government.

          b.     Civil or Administrative Actions not Barred; Effect on Other Governmental

Agencies: Nothing contained herein limits the rights and authority of the United States to take

any civil, tax, immigration/deportation or administrative action against the defendant.

          c.    Supervised Release:      Pursuant to any supervised release term, the Court will impose

standard conditions upon the defendant and may impose special conditions related to the crime

defendant committed.         As a special condition of supervised release, defendant agrees not to initiate

any contact, direct or indirect, with victims of the offense or identified government witnesses.

These conditions will be restrictions on the defendant to which the defendant will be required to

adhere.        Violation of the conditions of supervised release resulting in revocation may require the

defendant to serve a term of imprisonment equal to the length of the term of supervised release, but

not greater than the term set forth in Title 18, United States Code, Section 3583(e)(3), without credit

for the time served after release.      The defendant understands that parole has been abolished.

          d.     Mandatory Special Assessment: Pursuant to Title 18, United States Code, Section

3013, the Court is required to impose a mandatory special assessment of $100 for each felony count


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for a total of $300, which the defendant agrees to pay at the time of sentencing. Money paid by the

defendant toward any restitution or fine imposed by the Court shall be first used to pay any unpaid

mandatory special assessment.

        e.   Possibility of Detention:       The defendant may be subject to immediate detention

pursuant to the provisions of Title 18, United States Code, Section 3143.

        f.   Fines, Restitution and Costs of Incarceration and Supervision: The Court may

impose a fine, restitution (in addition to any penalty authorized by law), costs of incarceration and

costs of supervision.    The defendant agrees that any fine or restitution imposed by the Court will

be due and payable immediately.        The precise amount of restitution is unknown at the present

time.    Pursuant to Title 18, United States Code, Section 3663A, an order of restitution is

mandatory for all crimes listed in Section 3663A(c).        Regardless of the Count of conviction, the

amount of mandatory restitution imposed shall include all amounts allowed by Section 3663A(b)

and the amount of loss agreed to by the parties, including all relevant conduct loss.   The defendant

agrees to provide full restitution to all victims of all charges in the indictment.

        g.   Forfeiture: The defendant agrees to forfeit all of the defendant's interest in all items

seized by law-enforcement officials during the course of their investigation including, but not

limited to: currency or any personal property.           The defendant admits that all United States

currency, property and assets seized by law enforcement officials during their investigation

constitute the proceeds of the defendant's illegal activity, were commingled with illegal proceeds

or were used to facilitate the illegal activity.   The defendant agrees to execute any documents and

take all steps needed to transfer title or ownership of said items to the government and to rebut the




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claims of nominees and/or alleged third party owners.      The defendant further agrees that said items

may be disposed of by law enforcement officials in any manner.

9.   ACKNOWLEDGMENT AND WAIVER OF THE DEFENDANT'S RIGHTS:                                             In

pleading guilty, the defendant acknowledges, fully understands and hereby waives his rights,

including but not limited to: the right to plead not guilty to the charges; the right to be tried by a

jury in a public and speedy trial; the right to file pretrial motions, including motions to suppress or

exclude evidence; the right at such trial to a presumption of innocence; the right to require the

government to prove the elements of the offenses against the defendant beyond a reasonable doubt;

the right not to testify; the right not to present any evidence; the right to be protected from compelled

self-incrimination; the right at trial to confront and cross-examine adverse witnesses; the right to

testify and present evidence and the right to compel the attendance of witnesses.        The defendant

further understands that by this guilty plea, the defendant expressly waives all the rights set forth

in this paragraph.

        The defendant fully understands that the defendant has the right to be represented by

counsel, and if necessary, to have the Court appoint counsel at trial and at every other stage of the

proceeding.     The defendant's counsel has explained these rights and the consequences of the

waiver of these rights.   The defendant fully understands that, as a result of the guilty plea, no trial

will, in fact, occur and that the only action remaining to be taken in this case is the imposition of

the sentence.

        The defendant is fully satisfied with the representation received from defense counsel.     The

defendant has reviewed the government's evidence and discussed the government's case and all

possible defenses and defense witnesses with defense counsel.         Defense counsel has completely


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and satisfactorily explored all areas which the defendant has requested relative to the government's

case and any defenses.

10.   VOLUNTARY NATURE OF THE GUILTY PLEA AND PLEA AGREEMENT:

        This document constitutes the entire agreement between the defendant and the government,

and no other promises or inducements have been made, directly or indirectly, by any agent of the

government, including any Department of Justice attorney, concerning any plea to be entered in

this case.   In addition, the defendant states that no person has, directly or indirectly, threatened or

coerced the defendant to do or refrain from doing anything in connection with any aspect of this

case, including entering a plea of guilty.

        The defendant acknowledges having voluntarily entered into both the plea agreement and

the guilty plea.   The defendant further acknowledges that this guilty plea is made of the defendant's

own free will and that the defendant is, in fact, guilty.

11.   CONSEQUENCES OF POST-PLEA MISCONDUCT:

        After pleading guilty and before sentencing, if defendant commits any crime, other than

minor traffic offenses, violates any condition of release that results in revocation, violates any term

of this guilty plea agreement, intentionally provides misleading, incomplete or untruthful

information to the U.S. Probation Office or fails to appear for sentencing, the United States, at its

option, may be released from its obligations under this agreement.      The Government may also, in

its discretion, proceed with this agreement and may advocate for any sentencing position supported

by the facts, including but not limited to obstruction of justice and denial of acceptance of

responsibility.




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